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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:23-cv-01279


   Michael Curran, Christa Curran and
   Kelly Cobert, each individually and on
   behalf of all others similarly situated,

    Plaintiffs,

   v.

   Home Partners Holdings LLC, HPA
   US1 LLC, and OPVHHJV LLC, d/b/a
   Pathlight Property Management,

    Defendants.

   _____________________________________________________________________________

                 ELECTRONICALLY STORED INFORMATION ORDER
   _____________________________________________________________________________


           The parties agree to the following provisions regarding the discovery of electronically

   stored information (“ESI”) in this matter:

   A.      General Principles
           1.     An attorney’s zealous representation of a client is not compromised by conducting

   discovery in a cooperative manner. The failure of counsel or the parties to litigation to cooperate

   in facilitating and reasonably limiting discovery requests and responses raises litigation costs and

   contributes to the risk of sanctions.

           2.     The proportionality standard set forth in Fed. R. Civ. P. 26(b)(1) must be applied

   in each case when formulating a discovery plan. To further the application of the proportionality

   standard in discovery, requests for production of ESI and related responses should be reasonably

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   targeted, clear, and as specific as possible. This agreement is intended to assist the parties in

   identifying relevant, responsive information that has been stored electronically and is proportional

   to the needs of the case. The agreement does not supplant the parties’ obligations to comply with

   Fed. R. Civ. P. 34.

   B.     ESI Disclosures

          Within 30 days of entry of this Order, or at a later time if agreed to by the parties, each

   party shall disclose:

          1.      Custodians. The custodians most likely to have discoverable ESI in their

   possession, custody, or control. The custodians shall be identified by name, title, connection to

   the instant litigation, and the type of information under the custodian’s control.

          2.      Non-custodial Data Sources. A list of non-custodial data sources (e.g., shared

   drives, servers), if any, likely to contain discoverable ESI.

          3.      Third-Party Data Sources. A list of third-party data sources, if any, likely to

   contain discoverable ESI (e.g., third-party email providers, mobile device providers, cloud

   storage) and, for each such source, the extent to which a party is (or is not) able to preserve

   information stored in the third-party data source.

          4.      Inaccessible Data. A list of data sources, if any, likely to contain discoverable ESI

   (by type, date, custodian, electronic system or other criteria sufficient to specifically identify the

   data source) that a party asserts is not reasonably accessible under Fed. R. Civ. P. 26(b)(2)(B).

   C.     ESI Discovery Procedures




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           1.        On-site inspection of electronic media. Such an inspection shall not be required

   absent a demonstration by the requesting party of specific need and good cause or by agreement

   of the parties.

           2.        Search methodology. The parties shall timely confer to attempt to reach agreement

   on appropriate search terms and queries, file type and date restrictions, data sources (including

   custodians), and other appropriate computer- or technology-aided methodologies, before any such

   effort is undertaken. The parties shall continue to cooperate in revising the appropriateness of the

   search methodology.

                     a.     Prior to running searches:

                            i.     The producing party shall disclose the data sources (including

   custodians), search terms and queries, any file type and date restrictions, and any other

   methodology that it proposes to use to locate ESI likely to contain responsive and discoverable

   information. The producing party may provide unique hit counts for each search query.

                            ii.    After disclosure, the parties will engage in a meet and confer

   process regarding additional terms sought by the non-producing party.

                            iii.   The following provisions apply to search terms / queries of the

   requesting party. Focused terms and queries should be employed; broad terms or queries, such

   as product and company names, generally should be avoided. A conjunctive combination of

   multiple words or phrases (e.g., “computer” and “system”) narrows the search and shall count as

   a single search term. A disjunctive combination of multiple words or phrases (e.g., “computer”

   or “system”) broadens the search, and thus each word or phrase shall count as a separate search

   term unless they are variants of the same word. The producing party may identify each search

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   term or query returning overbroad results demonstrating the overbroad results and a counter

   proposal correcting the overbroad search or query.

                  c.       Upon reasonable request, a party shall disclose information relating to

   network design, the types of databases, database dictionaries, the access control list and security

   access logs and rights of individuals to access the system and specific files and applications, the

   ESI document retention policy, organizational chart for information systems personnel, or the

   backup and systems recovery routines, including, but not limited to, tape rotation and

   destruction/overwrite policy.

          3.      Format.

                  a.       ESI will be produced to the requesting party with searchable text, in a

   format to be decided between the parties. Acceptable formats include, but are not limited to, native

   files, multi-page TIFFs (with a companion OCR or extracted text file), single-page TIFFs (only

   with load files for e-discovery software that includes metadata fields identifying natural document

   breaks and also includes companion OCR and/or extracted text files), and searchable PDF.

                  b.       Unless otherwise agreed to by the parties, files that are not easily converted

   to image format, such as spreadsheet, database, presentation files, and drawing files, will be

   produced in native format.

                  c.       Each document image file shall be named with a unique number (Bates

   Number). File names should not be more than twenty characters long or contain spaces. When a

   text-searchable image file is produced, the producing party must preserve the integrity of the

   underlying ESI, i.e., the original formatting, the metadata (as noted below) and, where applicable,

   the revision history.

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                   d.      If a document is more than one page, the unitization of the document and

   any attachments and/or affixed notes shall be maintained as they existed in the original document.

   Attachments shall include files that are sent via hyperlinks.

                   e.      The parties shall produce their information in the following format: single-

   page images and associated multi-page text files containing extracted text or with appropriate

   software load files containing all information required by the litigation support system used by

   the receiving party.

                   f.      The full text of each electronic document shall be extracted (“Extracted

   Text”) and produced in a text file. The Extracted Text shall be provided in searchable ASCII text

   format (or Unicode text format if the text is in a foreign language) and shall be named with a

   unique Bates Number (e.g., the unique Bates Number of the first page of the corresponding

   production version of the document followed by its file extension).

           4.      De-duplication. The parties may de-duplicate their ESI production across custodial

   and non-custodial data sources after disclosure to the requesting party, and the duplicate custodian

   information and the file path for the duplicate file(s) removed during the de-duplication process

   shall be tracked in a duplicate/other custodian field and duplicate/other custodian file path field

   in the database load file.

           5.      Email Threading. The parties may use analytics technology to identify email

   threads and need only produce the unique most inclusive copy and related family members and

   may exclude lesser inclusive copies. Upon reasonable request, the producing party will produce

   a less inclusive copy. Metadata from the lesser included messages shall be produced in the

   metadata load file.


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          6.      Metadata fields. If the requesting party seeks metadata, the parties agree that only

   the following metadata fields need be produced, and only to the extent it is reasonably accessible

   and non-privileged:

   FIRSTBATES
   LASTBATES
   BEGATTACH
   ENDATTACH
   PARENT_BATES
   ATTACHMENT COUNT
   ATTACHMENTS
   CUSTODIAN
   DUPLICATE_CUSTODIANS
   DUPLICATE CUSTODIAN_FILEPATHS
   FROM
   TO
   cc
   BCC
   SUBJECT
   DATE_SENT (UTC TIME ZONE)
   DATE_RECEIVED (UTC TIME ZONE)
   FILENAME
   FILE EXTENSION
   AUTHOR
   DATE_CREATED
   DATE_LASTMOD
   FILE_SIZE
   FILETYPE
   RECORDTYPE
   FILEPATH
   HASH_VALUE
   TEXTLINK
   NATIVELINK
   PAGECOUNT
   EMAIL IMPORTANCE (FLAG YES OR NO)
   REPLACEMENT (FLAG YES OR NO)
   PROD_VOLUME
   SUBJECT TO PROTECTIVE ORDER (FLAG YES OR NO)
   REDACTION TYPE (REASON FOR REDACTION)
   TITLE (E-DOCS)
   SUBJECT (E-DOCS)
   CONVERSATION
   CONVERSATION INDEX
   CATEGORIES

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   COMMENTS
   HASCOMMENTS
   HASTRACKCHANGES
   HIDDENTEXT
   KEYWORDS
   LANGUAGE
   ORIGEXT
   SUSPECTEXT
   SUSPECTOLE
   TEXTXSTATUS

          The list of metadata type is intended to be flexible and may be changed by agreement of

   the parties, particularly in light of advances and changes in technology, vendor, and business

   practices.

          7.      Entire Document Families. A Document Family* will be produced together and

   will be consecutively Bates-numbered, with parent documents followed immediately by all child

   document(s). Family members that are withheld on the basis of privilege shall be produced as

   slipsheets indicating the basis of withholding. The Document Family must be identified using the

   “BegAttach” and “EndAttach” fields designating the beginning and ending of each Document

   Family, in accordance with C.6.

          * “Document Family” means a group of related documents. A “parent document” is an

   electronic file that includes, attaches, references, or embeds, at least one other electronic file (a

   “child document”) by means of any kind of attachment or hyperlink. A “Document Family”

   includes messages (e.g., email or chats) sent in any platform used or controlled by Defendants,

   including the M365 environment, that point to a file that is stored elsewhere within any platform

   used or controlled by Defendants, including the M365 environment (e.g., OneDrive or SharePoint).

          8.      Color. Documents or records containing color (for example, graphs, pictures, or

   color marketing materials) will be produced as color images for each such document or record, to

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   the extent possible. This provision does not apply to hard copy documents or electronic records

   containing color logos, signatures, watermarks, or letterhead.

           9.      System Files.     Electronic file collection will be "De-NISTed", removing

   commercially available operating system and application files contained on the National Institute

   of Standards and Technology (NIST) file list. Identification of NIST list matches will be through

   MD5 Hash values.

           10.     Time Zone. When processing ESI, Coordinated Universal Time (UTC) should be

   selected as the time zone.

           11.     Archive File Types. Archive file types (e.g., .zip, .rar) shall be uncompressed for

   processing. Each file contained within an archive file shall be produced, and the reference to the

   parent archive file will be provided in the child file name. If the archive file is itself an attachment,

   that parent/child relationship shall also be preserved.

           12.     Production Media. Documents shall be produced via secure file share/FTP.

           13.     Structured data. To the extent a response to a non-objectionable discovery request

   requires production of discoverable electronic information contained in a database, it shall be

   produced in its native format unless not practicable, in which case the producing party shall notify

   the requesting party and the parties shall promptly meet to attempt to resolve the issue. If the

   producing party asserts that production of a database in native is not practicable, the producing

   party may advise of a preference to (1) produce existing reports or reports readily able to be

   generated from the database that are reasonably responsive to the discovery requests, or (2) design

   queries in order to produce an extract from the database of relevant and responsive data in a

   reasonably usable and exportable electronic file (e.g., Excel, Access, CSV or Microsoft SQL server

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   database format). Any production of a database not in its native format should be fully

   parsible. For enterprise database systems from which data will be produced, the parties will meet

   and confer as to the available data in the system, the data to be exported, and the format of

   production on a case by case basis. The producing party agrees to disclose the search parameters

   used to design the reports and/or queries prior to the production. Upon review of any such

   parameters and productions from structured databases, the requesting party may make reasonable

   requests for additional information to explain the database schema, fields, codes, abbreviations,

   and different report formats, and may object to this method of production.

           14.     Text Messages. The parties will meet and confer to discuss the format of

   production of text messages. The parties recognize that there is a wide variety of capabilities

   available, and it is difficult to assert a standard into a protocol without information as to each

   party’s capabilities.

           15.     Mobile Application data. The parties will meet and confer to discuss the format of

   production of mobile application data. The parties recognize that there is a wide variety of

   capabilities available, and it is difficult to assert a standard into a protocol without information as

   to each party’s capabilities.

           16.     Collaboration software programs. The parties will meet and confer to discuss the

   format of production of collaboration program data such as Microsoft TEAMS or Slack. The

   parties recognize that there is a wide variety of capabilities available, and it is difficult to assert a

   standard into a protocol without information as to each party’s capabilities.




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  D.     Preservation of ESI

         The parties acknowledge that they have a common law obligation, as expressed in Fed. R.

  Civ. P. 37(e), to take reasonable and proportional steps to preserve discoverable information in

  the party’s possession, custody, or control. With respect to preservation of ESI, the parties agree

  as follows:

         1.      Absent a showing of good cause by the requesting party, the parties shall not be

  required to modify the procedures used by them in the ordinary course of business to back-up and

  archive data; provided, however, that the parties shall preserve all discoverable ESI in their

  possession, custody, or control.

         2.      The parties will supplement their disclosures in accordance with Fed. R. Civ. P.

  26(e) with discoverable ESI responsive to a particular discovery request or mandatory disclosure

  where that data is created after a disclosure or response is made (unless excluded under Sections

  (D)(3) or (E)(1)-(2)).


         3.      Absent a showing of good cause by the requesting party, the following categories

  of ESI need not be preserved:

                 a.        Deleted, slack, fragmented, or other data only accessible by forensics.

                 b.        Random access memory (RAM), temporary files, or other ephemeral data
                           that are difficult to preserve without disabling the operating system.

                 c.        On-line access data such as temporary internet files, history, cache,
                           cookies, and the like.

                 d.        Data in metadata fields that are frequently updated automatically, such as
                           last-opened dates (see also Section (E)(5)).

                 e.        Back-up data that are duplicative of data that are more accessible
                           elsewhere.


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                 f.      Server, system or network logs.

                 g.      Data remaining from systems no longer in use that is unintelligible on the
                         systems in use.

                 h.      Electronic data (e.g., email, calendars, contact data, and notes) sent to or
                         from mobile devices (e.g., iPhone, iPad, Android devices), provided that
                         a copy of all such electronic data is automatically saved in real time
                         elsewhere (such as on a server, laptop, desktop computer, or “cloud”
                         storage).

  E.     Privilege

         1.      A producing party shall create a privilege log of all documents fully withheld from

  production on the basis of a privilege or protection, unless otherwise agreed or excepted by this

  Agreement and Order. Privilege logs shall include a unique identification number for each

  document and the basis for the claim (attorney-client privileged or work-product protection). For

  ESI, the privilege log may be generated using available metadata, including author/recipient or

  to/from/cc/bcc names; the subject matter or title; and date created. Should the available metadata

  provide insufficient information for the purpose of evaluating the privilege claim asserted, the

  producing party shall include such additional information as required by the Federal Rules of

  Civil Procedure. Privilege logs will be produced to all other parties no later than 30 days after

  delivering a production unless an earlier deadline is agreed to by the parties.

         2.      Redactions need not be logged so long as the basis for the redaction is clear on the

  redacted document.

         3.      With respect to privileged or work-product information generated after the filing

  of the complaint, parties are not required to include any such information in privilege logs.

         4.      Activities undertaken in compliance with the duty to preserve information are

  protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).

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  5.     Pursuant to Fed. R. Evid. 502(d), the production of any documents, electronically stored

  information (ESI) or information, whether inadvertent or otherwise, in this proceeding shall not,

  for the purposes of this proceeding or any other federal or state proceeding, constitute a waiver

  by the producing party of any privilege applicable to those documents, including the attorney-

  client privilege, attorney work-product protection, or any other privilege or protection recognized

  by law. This Order shall be interpreted to provide the maximum protection allowed by Fed. R.

  Evid. 502(d). The provisions of Fed. R. Evid. 502(b) do not apply. Nothing contained herein is

  intended to or shall serve to limit a party’s right to conduct a review of documents, ESI or

  information (including metadata) for relevance, responsiveness and/or segregation of privileged

  and/or protected information before production. Information produced in discovery that is

  protected as privileged or work product shall be immediately returned to the producing party.



                 25TH            OCTOBER
  DATED this _____ day of ________________, 2023.
                                                               BY THE COURT:



                                                               _________________________
                                                               Maritza Dominguez Braswell
                                                               United States Magistrate Judge




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  AGREED TO:



  /s/ Scott C. Harris                        /s/ Carolyn A. Gunkel
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